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 7                          UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
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10   CHRIS LANGER,                                      Case No.: 3:20-cv-01626-BEN-JLB
11                                     Plaintiff,
                                                        ORDER GRANTING JOINT
12   v.                                                 MOTION TO EXTEND TIME TO
                                                        RESPOND TO PLAINTIFF’S
13   CDMPY El Camino, LCC, a California
                                                        COMPLAINT
     Limited Liability Company; Plenc El
14
     Camino, LCC, a California Limited
                                                        [DOC. 5]
15   Liability Company and Does 1-10,
16                                 Defendants.
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           The Parties jointly move for the first time to extend the time for Defendants CDMPY
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     El Camino, LCC, and Plenc El Camino, LCC to respond to the Complaint filed on August
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     20, 2020. The Court has reviewed the motion and finds good cause to grant the motion
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     exists. The joint motion is hereby GRANTED. Defendants shall respond to the Complaint
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     on or before October 30, 2020.
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           IT IS SO ORDERED.
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     DATED: September 18, 2020                      _______________________________
26                                                  HON. ROGER T. BENITEZ
27                                                  United States District Judge

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                                                                            3:20-cv-01626-BEN-JLB
